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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

       ED BUTOWSKY,                                   §
                                                      §
              Plaintiff,                              §
                                                      §
       v.                                             § Civil Action No.: 4:19-cv-577-ALM-KPJ
                                                      §
       DOUGLAS H. WIGDOR, et al.,                     §
                                                      §
              Defendants.                             §
                                                      §


                                               ORDER

            Pending before the Court is Plaintiff Edward Butowsky’s (“Plaintiff”) Unopposed Motion

     to Reschedule Hearing (the “Motion”) (Dkt. 35), wherein Plaintiff requests that the Court

     reschedule the Rule 16 Management Conference currently set on March 31, 2020. Upon

.    consideration, the Court finds that the Motion (Dkt. 35) is GRANTED.

            IT IS HEREBY ORDERED that the Rule 16 Management Conference in this matter,

     previously set on March 31, 2020, is hereby CANCELLED. The Court will reschedule the parties’

     Rule 16 Management Conference at a later date.

            So ORDERED and SIGNED this 4th day of March, 2020.




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                                               KIMBERLY C. PRIEST JOHNSON
                                               UNITED STATES MAGISTRATE JUDGE




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